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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO                                  FILED
                                                                              UNITED STATES DISTRICT COURT
                                                                                   DENVER, COLORADO
                                                                                       8:21 am, Mar 21, 2025
Civil Action No.                                                               JEFFREY P. COLWELL, CLERK
                               (To be supplied by the court)

Sanford Smith Jr. and Angela Smith
                                                               , Plaintiff

v.

Jonathan A Marks & Alan S Marks (Estate)
                                                               ,

Candlewyck Condominium Association
                                                               ,

Adolfson and Peterson Construction
                                                               ,

Amy L. Twohey - See attached other Defendants
                                                               , Defendant(s).

 (List each named defendant on a separate line. If you cannot fit the names of all defendants in
 the space provided, please write “see attached” in the space above and attach an additional
 sheet of paper with the full list of names. The names of the defendants listed in the above
 caption must be identical to those contained in Section B. Do not include addresses here.)



                                           COMPLAINT


                                              NOTICE

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should not
contain: an individual’s full social security number or full birth date; the full name of a person
known to be a minor; or a complete financial account number. A filing may include only: the
last four digits of a social security number; the year of an individual’s birth; a minor’s initials;
and the last four digits of a financial account number.

Plaintiff need not send exhibits, affidavits, grievances, witness statements, or any other
materials to the Clerk’s Office with this complaint.
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A.     PLAINTIFF INFORMATION
You must notify the court of any changes to your address where case-related papers may be
served by filing a notice of change of address. Failure to keep a current address on file with the
court may result in dismissal of your case.
Sanford Smith, Jr. & Angela Smith - 8601 W Cross Dr F5 #201, Littleton, CO 80123
 (Name and complete mailing address)
Phone: 770-755-2184 - Email: smithsanford@hotmail.com
 (Telephone number and e-mail address)

B.     DEFENDANT(S) INFORMATION
Please list the following information for each defendant listed in the caption of the complaint. If
more space is needed, use extra paper to provide the information requested. The additional
pages regarding defendants should be labeled “B. DEFENDANT(S) INFORMATION.”
                 Jonathan A Marks - 3400 Walnut St., Suite 700, Denver, CO 80205
 Defendant 1:
                   (Name and complete mailing address)
                 Phone: 303-892-7364 Email: jonathan.marks@davisgraham.com
                   (Telephone number and e-mail address if known)

                 Candlewyck Condo. Assoc.- 7865 E. Mississippi Ave, Denver, CO 80247
 Defendant 2:
                   (Name and complete mailing address)
                 Phone: 303-395-2377 Email: Not Provided
                   (Telephone number and e-mail address if known)

                 Adolfson & Peterson Const. - 797 Ventura St., Aurora, CO 80011
 Defendant 3:
                   (Name and complete mailing address)
                 Phone: 303-363-7101 Email: Not Provided
                   (Telephone number and e-mail address if known)

                 Front Range Roofing Syst. - 222 13th Ave, Greeley, CO 80631
 Defendant 4:
                   (Name and complete mailing address)
                 Phone: 970-353-2322 Email: Not Provided
                   (Telephone number and e-mail address if known)




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C.      JURISDICTION
Identify the statutory authority that allows the court to consider your claim(s): (check one)

 ✔     Federal question pursuant to 28 U.S.C. § 1331 (claims arising under the Constitution,
       laws, or treaties of the United States)

       List the specific federal statute, treaty, and/or provision(s) of the United States
       Constitution that are at issue in this case.

        42 U.S.C. ss 1983, 42 U.S.C. ss 1985, 42 U.S.C ss 1986,

        5th & 14th Amendments



       Diversity of citizenship pursuant to 28 U.S.C. § 1332 (a matter between individual or
       corporate citizens of different states and the amount in controversy exceeds $75,000)

       Plaintiff is a citizen of the State of                                   .



       If Defendant 1 is an individual, Defendant 1 is a citizen of                                  .



       If Defendant 1 is a corporation,

       Defendant 1 is incorporated under the laws of                                   (name of
       state or foreign nation).

       Defendant 1 has its principal place of business in                               (name of
       state or foreign nation).

       (If more than one defendant is named in the complaint, attach an additional page
       providing the same information for each additional defendant.)




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 D.     STATEMENT OF CLAIM(S)
State clearly and concisely every claim that you are asserting in this action. For each claim,
specify the right that allegedly has been violated and state all facts that support your claim,
including the date(s) on which the incident(s) occurred, the name(s) of the specific person(s)
involved in each claim, and the specific facts that show how each person was involved in each
claim. You do not need to cite specific legal cases to support your claim(s). If additional space
is needed to describe any claim or to assert additional claims, use extra paper to continue that
claim or to assert the additional claim(s). Please indicate that additional paper is attached and
label the additional pages regarding the statement of claims as “D. STATEMENT OF CLAIMS.”

                Breach of Contract
CLAIM ONE:
                           Please see attached
       Supporting facts:




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CLAIM TWO:

      Supporting facts:




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E.      REQUEST FOR RELIEF
State the relief you are requesting or what you want the court to do. If additional space is needed
to identify the relief you are requesting, use extra paper to request relief. Please indicate that
additional paper is attached and label the additional pages regarding relief as “E. REQUEST
FOR RELIEF.”




F.     PLAINTIFF’S SIGNATURE

I declare under penalty of perjury that I am the plaintiff in this action, that I have read this
complaint, and that the information in this complaint is true and correct. See 28 U.S.C. § 1746;
18 U.S.C. § 1621.

Under Federal Rule of Civil Procedure 11, by signing below, I also certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an improper
purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending or modifying
existing law; (3) the factual contentions have evidentiary support or, if specifically so identified,
will likely have evidentiary support after a reasonable opportunity for further investigation or
discovery; and (4) the complaint otherwise complies with the requirements of Rule 11.

Sanford Smith, Jr. and Angela Smith
(Plaintiff’s signature)

March 20, 2024
(Date)




(Revised 'HFHPEHU
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